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                                United States District Court
                                 Middle District of Florida
                                   Jacksonville Division

 WINN-DIXIE STORES, INC.,

               Plaintiff,

 v.                                                            NOS. 3:15-cv-1143-J-39PDB

 SOUTHEAST MILK, INC., ETC.,

               Defendants.



                                            Order

        In January, the Court granted in part the defendants’ motion for summary
 judgment on statute of limitations (Doc. 187) and denied—without prejudice to
 refiling and without reaching the merits—the defendants’ motion for summary
 judgment on standing (Doc. 187), the defendants’ motion to exclude the opinions of
 Dr. John M. Connor (Doc. 190), the plaintiffs’ motion to exclude or limit the opinions
 of the defendants’ experts (Doc. 223-1), 1 the plaintiffs’ motion for partial summary
 judgment (Doc. 194), and the plaintiffs’ motion to strike the defendants’ affirmative
 defense of lack of standing related to raw milk purchases (Doc. 199). Doc. 234. The
 defendants have since filed a renewed motion for summary judgment on standing.
 Doc. 242.

        Outstanding are five related motions to seal documents offered to support the
 motions for summary judgment and to exclude the opinions of Dr. Connor and the




        1The Court did not expressly deny the plaintiffs’ motion to exclude or limit the opinions
 of the defendants’ experts (Doc. 223-1) but implicitly did, including by extending deadlines to
 May 1, 2019. See Doc. 234 at 27–28.
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 defendants’ experts. Docs. 192, 193, 195, 218, 241. Applying the standards for
 sealing, 2 the Court grants in part and denies in part the motions to seal as follows:

        1.     The following documents were never filed—whether in redacted
               or unredacted form—and the parties need not file them now
               because the Court did not decide the merits of the related motions
               or otherwise consider the documents: Doc. 188-2, Doc. 188-3, Doc.
               188-28, Doc. 188-30, Doc. 191-3, Doc. 191-7, Doc. 191-8, Doc. 191-
               10, Doc. 191-17, and Doc. 191-21.

        2.     The following documents were provisionally filed under seal and
               may remain under seal until one year after judgment is entered
               or until the Court orders otherwise: Doc. 207-7 (S-214), Doc. 207-



        2“Once   a matter is brought before a court for resolution, it is no longer solely the
 parties’ case, but also the public’s case.” Brown v. Advantage Eng’g, Inc., 960 F.2d 1013,
 1016 (11th Cir. 1992). A court may determine which parts of the record should be sealed,
 but its discretion is guided by the presumption of public access. Perez- Guerrero v. U.S. Att’y
 Gen., 717 F.3d 1224, 1235 (11th Cir. 2013).
         To decide if the presumption of public access applies, a court distinguishes
 documents that “may properly be considered public or judicial records” from “those that
 may not; the media and public presumptively have access to the former, but not to the
 latter.” Id. The presumption applies to materials attached to documents that invoke judicial
 resolution on the merits but not to discovery documents irrelevant to the underlying issues.
 F.T.C. v. AbbVie Prods. LLC, 713 F.3d 54, 63−64 (11th Cir. 2013).
         If the presumption does not apply, a court must conduct only the “good cause”
 analysis under Federal Rule of Civil Procedure 26(c). In re Alexander Grant & Co.
 Litigation, 820 F.2d 352, 355–56 (11th Cir. 1987). If the presumption applies, a court must
 consider the nature and character of the information and balance the public’s right of access
 against a party’s interest in confidentiality. Perez-Guerrero, 717 F.3d at 1235. The balancing
 depends on the facts and circumstances. Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 599
 (1978). Considerations include whether allowing access would impair court functions or
 harm legitimate privacy interests, the degree and likelihood of injury if the documents are
 made public, the reliability of the information, whether there will be an opportunity to
 respond to the information, whether the information concerns public officials or public
 concerns, and the availability of a less-restrictive alternative to sealing. Romero v.
 Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007). Immaterial is “whether the sealing
 of the record is an integral part of a negotiated settlement between the parties[.]” Brown,
 960 F.2d 1013 at 1016.
        Under Local Rule 1.09(a), a party seeking to file a document under seal must identify
 and describe the items proposed for sealing, state the reason filing each is necessary, state
 the reason sealing each is necessary, explain why a means other than sealing is unavailable
 or insufficient to preserve the movant’s interests, and state the proposed duration of the seal.

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                 8 (S-214-1), and Doc. 207-28 (S-214-2). 3 The presumption does not
                 apply because the Court did not consider the merits of the related
                 motion or otherwise consider the documents. Dairy Farmers of
                 America provides good cause in its motion to seal. See Doc. 218.

        3.       The following documents were never filed—whether in redacted
                 or unredacted form—and the Court decided the merits of the
                 related motion: Doc. 188-14, Doc. 188-15, Doc. 188-17, and Doc.
                 188-29. The presumption applies because the Court decided the
                 merits of the related motion, and that motion was dispositive.
                 Neither side has tried to overcome the presumption. The
                 defendants must file Doc. 188-14, Doc. 188-15, Doc. 188-17, and
                 Doc. 188-29 on the public docket by April 15, 2019.

        4.       The following documents have not been filed—whether in
                 redacted or unredacted form—to support the pending motion for
                 summary judgment on standing (Doc. 242), but have been filed
                 elsewhere on the public docket without objection: Doc. 243-2 (see
                 Doc. 207-5), Doc. 243-5 (see Doc. 170-4), and Doc. 243-12 (see Doc.
                 170-2). The defendants must file Doc. 243-2, Doc. 243-5, and Doc.
                 243-12 on the public docket by April 15, 2019.

        5.       The following documents have not been filed—whether in
                 redacted or unredacted form—to support the pending motion for
                 summary judgment on standing (Doc. 242), and have not been
                 filed elsewhere on the public docket: Doc. 243-3, Doc. 243-10, and
                 Doc. 243-11. The presumption applies because the motion is
                 dispositive. Neither side has tried to overcome the presumption.
                 The defendants must file Doc. 243-3, Doc. 243-10, and Doc. 243-
                 11 on the public docket by April 15, 2019.

        In other sealing matters, the Court previously granted the plaintiffs’ motion to
 file under seal Docs. S-112–S-112-2, deposition transcripts for a motion to compel.
 Doc. 133. Southeast Milk had designated the transcripts “Confidential” or “Highly
 Confidential.” Doc. 133 at 1. The Court directed the clerk to maintain Docs. S-112–S-
 112-2 under seal until October 10, 2018, “subject to an extension upon timely motion


        3Dairy  Farmers of America proposes indefinite sealing of Doc. 207-7 (S-214), Doc. 207-
 8 (S-214-1), and Doc. 207-28 (S-214-2). Doc. 218 at 3. Because circumstances change over
 time, courts are loathe to seal documents indefinitely. Should Dairy Farmers of America want
 the documents to remain sealed beyond one year after the judgment is entered, it may file an
 appropriate motion before that time.

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 demonstrating good cause.” Doc. 133 at 3. The deadline has passed, and no party has
 filed a motion to maintain the transcripts under seal. The clerk must unseal Docs. S-
 112–S-112-2 no earlier than April 15, 2019.

       Any motion for reconsideration of any unsealing directive in this order must
 be filed by April 5, 2019.

       Before seeking to file under seal any documents merely because they are
 designated “confidential” or “highly confidential,” counsel should strive to work with
 opposing counsel to determine if the documents in fact should be sealed under the
 appropriate standards.

       Ordered in Jacksonville, Florida, on March 14, 2019.




 c:   Counsel of record




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